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                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


 FEDERAL TRADE COMMISSION,                         Case No.: 2:22-cv-00377-BLW

                      Plaintiff,                  ORDER GRANTING JOINT
                                                  STIPULATION TO MODIFY
 v.                                               SCHEDULING ORDER

 KOCHAVA INC.,

                      Defendant.



       Before the Court is the parties’ Joint Stipulation to Modify Scheduling Order

(Dkt. 64). After considering the Stipulation, and good cause appearing, the Court

hereby amends the case management deadlines within the Scheduling Order (Dkt.

17) and Joint Discovery Plan (Dkt. 14) as follows:

       1.     Dispositive Motion Deadline: May 5, 2025

       2.     Joinder of Parties & Amendment of Pleadings Deadline: May 6, 2024

       3.     Alternative Dispute Resolution Deadline: January 24, 2025

       4.     Fact Discover Deadline: January 15, 2025

       5.     Expert Discovery Deadline: March 28, 2025

              a. Plaintiff’s and Defendant’s identification and disclosure of

                  affirmative expert witnesses: January 27, 2025

              b. Disclosure of rebuttal experts: February 28, 2025

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                                                  DATED: January 10, 2024


                                                  _________________________
                                                  B. Lynn Winmill
                                                  United States District Judge




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